           Case 2:13-cr-00084-TLN-CSK Document 255 Filed 11/13/18 Page 1 of 3



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 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                          2:13-CR-00084-GEB
12                  Plaintiff,
                                                        STIPULATION AND APPLICATION FOR A
13          v.                                          MONEY JUDGMENT AS TO DEFENDANT
                                                        SURJIT SINGH; ORDER
14   SURJIT SINGH,
     RAJESHWAR SINGH, and
15   ANITA SHARMA
16                  Defendants.
17

18          The United States and defendant Surjit Singh stipulate to the entry of a Money Judgment based

19 on the Application of the United States, as set forth below:
20          1.     The Indictment in this case charged defendant Surjit Singh with 4 counts of Mail Fraud in

21 violation of 18 U.S.C. § 1341, 4 counts of Bank Fraud in violation of 18 U.S.C. § 1344, and Making

22 False Statements on Loan and Credit Applications in violation of 18 U.S.C. § 1014. The Indictment

23 included a forfeiture allegation. A Bill of Particulars was filed on October 17, 2017, seeking a personal

24 forfeiture money judgment against defendants Surjit Singh and Rajeshwar Singh in the amount of

25 $5,490,400.00.
26          2.     On November 8, 2017, defendant Surjit Singh was found guilty of twelve counts of mail

27 fraud, bank fraud, and making false statements to a bank.

28          3.     Defendant Surjit Singh stipulates and agrees to forfeit voluntarily and immediately
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29                                                                                   Stipulation and Application for
                                                                                      a Money Judgment; Order
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           Case 2:13-cr-00084-TLN-CSK Document 255 Filed 11/13/18 Page 2 of 3



 1 $847,000.00 as a personal money judgment pursuant to Fed. R. Crim. P. 32.2(b)(1), which reflects a

 2 reasonable compromise between the parties for forfeiture purposes concerning the proceeds the

 3 defendant obtained as a result of his bank and mail fraud, to which he has been found guilty.

 4          4.     The government hereby applies for entry of a money judgment as follows:

 5                 a.      Pursuant to 18 U.S.C. § 982(a)(2)(A) and Fed. R. Crim. P. 32.2(b)(1), the Court

 6 shall impose a personal forfeiture money judgment against defendant Surjit Singh in the amount of

 7 $847.000.00.

 8                 b.      The above-referenced personal forfeiture money judgment is imposed based on

 9 defendant Surjit Singh’s convictions. Said amount reflects a reasonable compromise between the parties

10 for forfeiture purposes concerning the proceeds the defendant obtained, which the defendant agrees is

11 subject to forfeiture based on the offenses of conviction. Any funds applied towards such judgment

12 shall be forfeited to the United States of America and disposed of as provided for by law.

13          5.     An initial payment of $50,000 is due on or before January 1, 2019. The remaining

14 $797,000.00 shall be paid from the sale proceeds of real properties which are owned and/or controlled

15 by defendant Surjit Singh.

16          6.     Prior to the imposition of sentence, any funds delivered to the United States to satisfy the

17 personal money judgment shall be seized and held by the U.S. Marshals Service in its secure custody

18 and control. Payment of the personal forfeiture money judgment will be satisfied pursuant to the sale

19 and liquidation of the above-listed properties. Payment shall be made in the form of a cashier’s check
20 made payable to the U.S. Marshals Service and sent to the U.S. Attorney’s Office, Attn: Asset Forfeiture

21 Unit, 501 I Street, Suite 10-100, Sacramento, CA 95814.

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29                                                                                     Stipulation and Application for
                                                                                        a Money Judgment; Order
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           Case 2:13-cr-00084-TLN-CSK Document 255 Filed 11/13/18 Page 3 of 3



 1          7.       This stipulation is not an admission of liability or guilt and in no way restricts or affects

 2 defendant Surjit Singh’s right to appeal the judgment or sentence in his criminal case.

 3 Dated:        11/7/2018                                  McGREGOR W. SCOTT
                                                            United States Attorney
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 5                                                          /s/ Kevin C. Khasigian
                                                            KEVIN C. KHASIGIAN
 6                                                          Assistant U.S. Attorney

 7

 8 Dated:        11/8/18                                    /s/ Thomas A. Johnson
                                                            THOMAS A. JOHNSON
 9                                                          Attorney for Defendant

10                                                          (Signature authorized by email)

11

12                                                     ORDER

13          For good cause shown, the Court hereby imposes a personal forfeiture money judgment against

14 defendant Surjit Singh in the amount of $847.000.00. An initial payment of $50,000 is due on or before

15 January 1, 2019. The remaining $797,000.00 shall be paid from the sale proceeds of real properties

16 which are owned and/or controlled by defendant Surjit Singh.

17          Any funds applied towards such judgment shall be forfeited to the United States of America and

18 disposed of as provided for by law. Prior to the imposition of sentence, any funds delivered to the

19 United States to satisfy the personal money judgment shall be seized and held by the U.S. Marshals
20 Service in its secure custody and control.

21          IT IS SO ORDERED.

22 Dated: November 9, 2018

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29                                                                                         Stipulation and Application for
                                                                                            a Money Judgment; Order
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